

   On review of an order certifying a conflict. The court determines that a conflict exists. The parties are ordered to brief the issue stated at page 1 of the court of appeals' entry filed February 27, 2018: "In an adoption-consent case under R.C. 3107.07(A) in which a court has previously relieved a parent of any child-support obligation, does that previous order supersede any other duty of maintenance and support so as to provide 'justifiable cause' for the parent's failure to provide maintenance and support, therefore requiring the petitioner to obtain the consent of that parent?"
  

   The conflict case is In re Adoption of A.S., 5th Dist. Licking No. 10-CA-140,
   
    2011-Ohio-1505
   
   .
  

   Sua sponte, cause consolidated with 2018-0181, In re Adoption of B.I., 2018-0182, In re Adoption of B.I., and 2018-0351, In re Adoption of B.I., and briefing in Nos. 2018-0181, 2018-0182, 2018-0350, and 2018-0351 consolidated. The parties shall file four originals of each of the briefs permitted under S.Ct.Prac.R. 16.02 through 16.04 and include all case numbers on the cover pages of the briefs. The parties shall otherwise comply with the requirements of S.Ct.Prac.R. 16.01 through 16.04. Kennedy, J., would also certify a conflict with In re Adoption of Z.A., 5th Dist. Licking No. 16-CA-05,
   
    2016-Ohio-3159
   
   .
  

   Fischer and DeGenaro, JJ., dissent.
  
